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     Assistant Federal Defender
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5    Attorneys for Defendant
     DENNA CHAMBERS
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7
8                                    UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-010 MCE
                                                  )
11                           Plaintiff,           )   STIPULATION TO CONTINUE STATUS
                                                  )   CONFERENCE; SET FOR CHANGE OF PLEA
12         v.                                     )   AND TO EXCLUDE TIME; ORDER
                                                  )
13   DENNA CHAMBERS,                              )   Date: January 25, 2018
                                                  )   Time: 10:00 a.m.
14                           Defendant.           )   Judge: Hon. Morrison C. England, Jr.
                                                  )
15
             By previous order, this matter was set for status on January 25, 2018.
16
             By this stipulation, defendant, Denna Chambers, now moves to vacate the status
17
     conference and set the matter for change of plea on February 8, 2018 at 10:00 a.m., and to
18
     exclude time between January 25, 2018 and February 8, 2018 under local code T4.
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             The reasons for the continuance is that defense requires additional time in advance of the
20
     change of plea to investigate the facts, conduct further legal research and to consult with the
21
     expert whom defense counsel has hired.
22
             Counsel for defendant Chambers believes that the failure to grant the above-requested
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     continuance would deny them the reasonable time necessary for effective preparation, taking into
24
     account the exercise of due diligence.
25
             The government does not object to the continuance.
26
             Based upon the foregoing, time under the Speedy Trial Act should be excluded from
27
     January 25, 2018, through and including February 8, 2018, pursuant to 18 U.S.C. §3161
28

      Stipulation to Continue Status Conference       -1-
       Case 2:16-cr-00010-TLN Document 87 Filed 01/25/18 Page 2 of 3


1    (h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4
2    because it results from a continuance granted by the Court at defendant’s request for continuity
3    of counsel and defense preparation, on the basis of the Court’s finding that the ends of justice
4    served by taking such action outweigh the best interest of the public and the defendant in a
5    speedy trial.
6    IT IS SO STIPULATED.
7    DATED: January 23, 2018                               Respectfully submitted,
8
                                                           HEATHER E. WILLIAMS
9                                                          Federal Defender

10                                                         /s/ Matthew C. Bockmon
                                                           MATTHEW C. BOCKMON
11                                                         Assistant Federal Defender
12                                                         Attorney for DENNA CHAMBERS

13   DATED: January 23, 2018                               MCGREGOR W. SCOTT
                                                           United States Attorney
14
                                                           /s/ Shelley D. Weger
15
                                                           SHELLEY D. WEGER
16                                                         Assistant United States Attorney
                                                           Attorney for Plaintiff
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      Stipulation to Continue Status Conference      -2-
       Case 2:16-cr-00010-TLN Document 87 Filed 01/25/18 Page 3 of 3


1                                                       ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefrom, adopts the parties’ stipulation in its entirety as its order. It specifically finds
4    the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds the ends of justice are served by granting the requested continuance and outweigh the best
7    interests of the public and the defendants in a speedy trial.
8            Time from January 25, 2018, up to and including February 8, 2018, shall be excluded
9    from computation of time within which the trial of this case must be commenced under the
10   Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and(B)(iv) [reasonable time for defense
11   counsel to prepare] and General Order 479, (Local Code T4) [defense counsel’s preparation]. It
12   is further ordered the January 25, 2018 status conference shall be vacated and a change of plea
13   set for February 8, 2018, at 10:00 a.m.
14           IT IS SO ORDERED.
15   Dated: January 24, 2018
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      Stipulation to Continue Status Conference        -3-
